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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

DARIUS TIMMONS
i>1aintiff,

vs. Civil Action No. 1=12-cv-11933-DPW

SOUTHWEST CREDIT SYSTEMS, LP

]OHN DOES and ]ANE DOES
Defendant,

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NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY DIMISSSAL OF
ACTION WITH PREJUDICE
PURSUANT TO RULE 41(@)

Darius Timmons (“Plaintjff”), by Plaintiff’s attorney, hereby Withdraws the complaint and
voluntarily dismisses this action, With prejudice, pursuant to FED. R. CIV. P. 41 (a) (1)(A) (i).

Dated: January 2, 2013

RESPECTFULLY SUBMITTED:

/s/ Kevin V. K. Crick. Esq.

Kevin V. K. Crick

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PROOF OF SERVICE

I hereby certify that on january 2, 2013, a copy of the foregoing was Eled electronically in
accordance With the Court’s Electronic Filing Guidelines. Notice of this filing Will be sent to all
parties by operation of the court’s electronic filing system and electronic email. Parties may access
this filing through the court’s system.

/S/ Kevin V. K. Crick. Esq.

